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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

THOMAS LADE,

   Plaintiff,

-vs-                                              CASE NO.: 2:16-CV-888-FT M-99-CM

ALLY FINANCIAL INC.,

   Defendant.

                                      /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, Thomas Lade, and the Defendant, Ally Financial Inc., and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss with prejudice, each claim

and count therein asserted by Plaintiff against the Defendant in the above styled action, with

Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

        Respectfully submitted this 14th day of November, 2017.



/s/Shaughn C. Hill, Esquire                       /s/ Charles M. Tatelbaum, Esquire
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